Case 2:04-cr-20081-.]PI\/| Document 112 Filed 05/24/05 Page 1 of 2 Page|D 186

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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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UNITED sTATEs 0F AMERICA, W- 9 '”»"* 111 "‘\/‘t"-"-F~‘PH*S

Plaintiff,
v. CASE NO.: 04-cr-2008]-1
BILLY T. PHILLIPS,

Defendant.

 

ORDER TO HIRE COMPUTER EXPERT
A'I` GOVERNMENT EXPENSE

 

IT APPEARING to the Court upon motion of the Defendant, that the Defendant shall be
allowed to obtain the services of a the services of a computer expert. It further appearing that if
the expert fees exceed the statutory maximum set by the Criminal Justice Act then further

petition shall be required by the Defendant.

ALL oF WHICH ls 0RDERED, ADJUDGED AND DECREED, this 2 3 day of

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GE .TON PHIPPS MC CALLA
U . DISTRICT COURT

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with Rule 55 andjor 32(b) FHCrP on »

    

DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 112 in
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Honorable .l on McCalla
US DISTRICT COURT

